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8
                                      UNITED STATES DISTRICT COURT
9                                   SOUTHERN DISTRICT OF CALIFORNIA
                                           SAN DIEGO DIVISION
10
      LYNN LAING,                                  )
11                                                 )
                       Plaintiff,                  ) Case No.: '17CV0633 DMS WVG
12           v.                                    )
                                                   )
13                                                 ) PLAINTIFF’S COMPLAINT
      WELLS FARGO BANK, N.A.,                      )
14              Defendant.                         )
                                                   )
15                                                 )
                                                   )
16                                                 )

17                                      PLAINTIFF’S COMPLAINT
18
             Plaintiff, LYNN LAING, (hereinafter referred to as "Plaintiff") through her attorney, AGRUSS
19
      LAW FIRM, LLC, alleges the following against Defendant, WELLS FARGO BANK, N.A.
20
      (“Defendant”):
21

22                                            INTRODUCTION

23       1. Count I of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47
24
             U.S.C. 227, et seq. (“TCPA”).
25
         2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection Practices Act,
26
             Cal. Civ. Code §1788 et seq. (“RFDCPA”).
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1                                       JURISDICTION AND VENUE

2        3. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as Plaintiff’s claims arise
3
            under the laws of the United States, and 28 U.S.C. § 1367 grants this court supplemental
4
            jurisdiction over the state claims contained within.
5
         4. This Court has federal question jurisdiction because this case arises out of violations of
6

7           federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

8        5. Defendant conducts business in Vista, San Diego, California.
9
         6. Venue and personal jurisdiction in this District are proper because Defendant transacts business
10
            in this District, and a material portion of the events at issue occurred in this District.
11
                                                    PARTIES
12

13       7. Plaintiff, is a resident of Vista, San Diego County, California.

14       8. Defendant is based in San Francisco, California.
15
                                         FACTUAL ALLEGATIONS
16
         9. Within four (4) years of Plaintiff filing this Complaint, Defendant called Plaintiff’s residential
17
            telephone number ending in 6522 to speak with a woman named Ruth Phillips to solicit a home
18

19          loan.

20       10. None of the calls Defendant made to Plaintiff were for an emergency purpose.
21       11. Within four (4) years of Plaintiff filing this Complaint, Defendant called Plaintiff’s residential
22
            telephone from the following telephone numbers: 760-603-1979, 800-288-3212, 800-853-
23
            8516.
24

25       12. The following telephone numbers are Defendant’s phone numbers: 760-603-1979, 800-288-

26          3212, 800-853-8516.
27       13. On more than one occasion within the last four (4) years, Plaintiff repeatedly requested
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1           Defendant stop calling Plaintiff’s residential landline because she was not Ruth Phillips, and

2           Ruth Phillips did not reside with her.
3
         14. Despite Plaintiff’s request that Defendant stop calling Plaintiff’s residential telephone,
4
            Defendant continued to call Plaintiff’s residential telephone.
5
         15. On December 16, 2016, Agruss Law Firm, LLC, mailed Defendant a letter requesting
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7           Defendant stop calling Plaintiff’s residential telephone.

8        16. Despite receiving the letter from Agruss Law Firm, LLC, Defendant continued to call
9
            Plaintiff’s residential telephone number.
10
         17. Prior to calling Plaintiff’s residential telephone, Defendant knew the number was a residential
11
            telephone number.
12

13       18. During at least one conversation, Defendant learned that Plaintiff wanted Defendant to stop

14          calling Plaintiff’s residential telephone.
15
         19. Defendant never had permission to call Plaintiff’s residential telephone.
16
         20. Defendant continued to call Plaintiff’s residential telephone after Defendant knew Plaintiff
17
            wanted the calls to stop.
18

19       21. Within 4 years of Plaintiff filing this Complaint, Defendant used an artificial or prerecorded

20          voice to deliver a message to Plaintiff’s residential telephone.
21
                                   DEFENDANT VIOLATED THE
22                           TELEPHONE CONSUMER PROTECTION ACT

23       22. Defendant made unsolicited phone calls to the residential telephone number using an artificial
24          or prerecorded voice to deliver a message to Plaintiff’s residential landline.
25
         23. Defendant’s conduct therefore violated the TCPA by:
26
                a. Placing non-emergency telephone calls to Plaintiff’s residential telephone line using an
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                    artificial or prerecorded voice to deliver a message without the prior express consent of


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1                   the called party in violation of 47 U.S.C. § 227 (b)(1)(B).

2           WHEREFORE, Plaintiff, LYNN LAING, respectfully requests judgment be entered against
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      Defendant, WELLS FARGO, N.A., for the following:
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         24. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled to
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            and requests $500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
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7           227(b)(3)(B).

8        25. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1), Plaintiff
9
            is entitled to and requests treble damages, as provided by statute, up to $1,500.00, for each and
10
            every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C. 227(b)(3)(C).
11
         26. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.
12

13       27. Any other relief that this Honorable Court deems appropriate.

14                                COUNT II
       DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES
15                                  ACT
16
         28. Plaintiff repeats and re-alleges paragraphs 1-21 of Plaintiff’s Complaint as the allegations in
17
            Count II of Plaintiff’s Complaint.
18
         29. Defendant violated the RFDCPA based on the following:
19

20                 a. Defendant violated the §1788.11(d) of the RFDCPA by causing a telephone to ring

21                     repeatedly or continuously to annoy the person called, when Defendant repeatedly
22                     called Plaintiff after Plaintiff informed Defendant she was not the intended recipient
23
                       of the phone calls, and requested Defendant stop calling her; and
24
                   b. Defendant violated the §1788.11(e) of the RFDCPA by communicating, by
25

26                     telephone, with the debtor with such frequency as to be unreasonable and to

27                     constitute as harassment to the debtor under the circumstances, when Defendant
28                     repeatedly called Plaintiff after Plaintiff informed Defendant she was not the

                                                          4
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1                     intended recipient of the phone calls, and requested Defendant stop calling her.

2           WHEREFORE, Plaintiff, LYNN LAING, respectfully requests judgment be entered against
3
      Defendant, WELLS FARGO BANK, N.A., for the following:
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         30. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection Practices Act,
5
            Cal. Civ. Code §1788.30(b),
6

7        31. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection Practices

8           Act, Cal. Civ. Code § 1788.30(c), and
9
         32. Any other relief that this Honorable Court deems appropriate.
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12                                             RESPECTFULLY SUBMITTED,
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14        DATED: March 29, 2017                   AGRUSS LAW FIRM, LLC

15
                                             By: /s/ Michael S. Agruss         .
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                                                     Michael S. Agruss
17                                                   Attorney for Plaintiff
                                                     LYNN LAING
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